      Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 1 of 6 Page ID #:11

EXHIBIT 2: INFRINGEMENT #1
URL: https://perezhilton.com/university-of-idaho-murders-white-hyundai-elantra-found-
wrecked-oregon/
      Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 2 of 6 Page ID #:12

EXHIBIT 2: INFRINGEMENT #2
URL: https://www.facebook.com/PerezHilton/posts/6294132307298104
     Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 3 of 6 Page ID #:13

EXHIBIT 2: INFRINGEMENT #3
URL: https://www.facebook.com/PerezHilton/posts/6294426430602025
      Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 4 of 6 Page ID #:14
EXHIBIT 2: INFRINGEMENT #4
URL: https://twitter.com/PerezHilton/status/1605328925005078529
      Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 5 of 6 Page ID #:15
EXHIBIT 2: INFRINGEMENT #5
URL: https://twitter.com/PerezHilton/status/1605368616165277697
     Case 2:24-cv-02628-SK Document 1-2 Filed 04/01/24 Page 6 of 6 Page ID #:16

EXHIBIT 2: INFRINGEMENT #6
URL: https://www.instagram.com/p/CmaBj5cvn1N/
